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AO 442 (Rev. llfl]) Arrest Warrant

UNITED STATES DISTRICT COURT
n for the

Southern Distn`ct of Califomia

Unite.d Sta¢:: ofAmerica _ 1 8 M J 0 9 7 3

 

 

 

)
) Case No.
)
)
)
)
Defendom
ARREST WARRANT
To: Any authorized law enforcement officer

YOU ARE COM]VIANDED to arrest and bring before a Uniled States magistrate judge without unnecessary delay

(name of person ¢‘o be arresiea)l vincent Ramos ,
who is accused of an offense or violation based on the following document filed with the court1

13 Indictment Cl Superscding lndictment [j lnformation [:l Superseding lnformation |I' Complaint
[l Probation Violation Petition 13 Supervised Release Violation Petition |:l Violation Notice |J Order of the Court

This offense is briefly described as follows:

18 U.S.C. § 1962 (RICO Conspiracy)
21 U.S.C. § 1846 (Gonspiraey to Distribute Contro|ied Substances)

Date: f a l re`
v Issw'ng off er’s sigma `

 

 

 

 

 

 

City and state: San Diego, CA M|TCHELL D. DEMB]N, U.S. Magistrate Judge
Pri'nfed name and rifle
Return
This warrant was received on (dare) -, and the person was arrested on (dare) _

at (cig) and srare)

 

Date:

 

Arrest:`rrg o_;j'z`cer ’s signature

 

Prfnfed name and rifle

 

 

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UNITED STATES DISTRICT COURT
SOUTI'[ERN DISTRICT OF CAIJFORNIA

Magistrate-Case No. l BM 51 n 9 7 3

COMPLA].`NT FOR VIOLATION OF
'I`itle 18, U.S.C., Sec. 1962(d) _
Racketeering Conspiraey to
Conduct Enterprise Affairs (RICO
Conspiraoy); Title 21, U.S.C., Sec. 846
~ Conspiracy to Distribute
Narcotics; and Title 18, U.S.C., 2 ~
Aiding and Abetting;

UNITED STATES OF AN[ERICA.,

VS.

Vincent Ramos (1)
aka “CEO”

aka “Business”

(UN'DER SEAL)

 

W\n-»'\_#\-¢W\'»¢'\-/\-fVVVVWWWWWVWWWWVVVWWWV

Defendants.

 

The undersigned complainant being duly sworn states:
COUNT I

Beginning at least as early as 2008 and continuing up to and including

February 28, 2018, within the Southern District of California and elsewhere,

mem RAMOS, _

employed by and associated with PHANTOM SECURE, Which Was engaged in, and
the activities of which affected interstate and foreign commerce, did knowineg and

intentionally conspire With each other, and with others, to violate Title 18, United

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States Code, Section 1962(0), that is to conduct and participate, directly and
indirectly, in the conduct of PHANTOM SECURE’s affairs through a pattern of
racketeering activity involving gambling, money laundering, and drug traflicking,
indictable under state law and punishable by imprisonment for more than one year
and the following provisions:
A. Title 21, United States Code, Section 846 (Attempt and
conspiracy to distribute and import controlled substances); and
B. Title 18, United States Code, Sections 1512 (Obstruction)
2. lt was a part of the conspiracy that each defendant agreed that a
conspirator would commit at least two acts of racketeering activity in the conduct of

PHANTOM SECU'R.E’s aii'airs.

COUN'I' II
Beginning as early as 2008 and continuing up to and including February 28,

2018, within the southern names of california defendants vINCENT RAMOS,-

 

-, did knowingly and intentionally conspire with other persons to distribute
lmore than'5 kilograms of cocaine, a Schedule II Controlled Substance; in violation of
Title 21, United States Code, Section 841(2.)(1) and 846, and 'Iitle 18, United States
Code, Section 2.

This complaint is based on the facts in the attached probable cause statement

which is incorporated herein by reference

Nicholas I. Chev"iron
FBI Special Agent

 
  

Sworn to before me and subscribe ;

2018.

The Honorable Mitcliell D. Dembin
United States Magistrate Judge

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Q[MF§

I, Nicholas Cheviron, being duly sworn, declare and state:
INTRODUCTION

1. I am a Special Agent with the Federal Bureau of Investigation (FBI) and
have been so employed since January 2007. I am currently assigned to the San Diego
Division, working as a member of the Organized Crirne squad Prior to my employment
with the FBI, I was a police officer with the Bloomington, Il]inois, Police Department for
approximately three years. I received basic narcotic enforcement training while
attending the ll]inois Police Tra.ining Institute for 12 weeks, in Champaign, lllinois.
Dur'ing my time as a police officer, l received several hours of specialized narcotic
enforcement training l also had the opportunity to investigate and take part in several
narcotic investigations I.also received extensive investigative training While attending
the FBI Academy at Quantico, Virginia for 21 weeks. During my tenure at the FBI, l
have investigated all aspects of criminal organizations to include narcotics trafliclcing,
money laundering, and the operation of illegal gambling businesses I have interviewed
and operated informants, executed search warrants, arrested and interviewed subjects,
conducted physical surveillances, utilized electronic and video surveillance, and testified
in federal and state courts Additionally, I have received formal training focusing on
criminal enterprises and tactics utilized by such enterprises to generate illicit funds.
Those tactics include narcotics trafficking, illegal gambling, and bribery. I have also
attended training that focused on the laundering of illicit funds and have participated in
numerous working group meetings which focused on illegal gambling and the various
methods used to facilitate illegal gambling In addition my above-stated formal training,_
I have worked with and consulted numerous agents and law enforcement oiiicers who
have investigated criminal organizations throughout the United States, including
Southern California. From my training, experience, and consultations, l have become
familiar With the techniques and methods utilized by criminal organizations

2. Based on my training and experience and the facts as set forth in this

Afl:ldavit, l respectfully submit that there is probable cause to believe that violations of

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’l‘itle 18, United States Code, Section 1962 (RICO), Title 21, United States Code,
Sections 841 and 846 (Conspiracy to Distribute a Controlled Substance), and Title 18,
United States Code, Section 2 (Aiding and Abetting) have been committed by PHANTOM
SECURE, a Canadian company operating a worldwide encrypted telecommunications
network; its oBicers, directors, and employees, including V`[NCENT RAMOS, -
client-customers

3. The facts set forth in this Aft`ldavit are based on my personal knowledge;
knowledge obtained from other individuals during my participation in this investigation,
including other domestic and foreign law enforcement ofEcers; my review of documents
and computer records related to this investigation; communications with others who
have personal knowledge of the events and circumstances described herein; and
information gained through my training and experience Because this affidavit is
submitted for the limited purpose of establishing probable cause it does not set forth
each and every fact that l or others have learned during the course of this investigation

. §AQK§M

3. Based on the evidence developed in this case, PHANTOM SECURE is a
Canadian-based company that sells electronic communication devices and encryption
service to transnational criminal organizations to facilitate illegal activity and obstruct
and impede law enforcement

4. According to reports based on public records and other database searches
conducted by the Royal Canadian Mounted Police (“RCN[P”), and information learned
from confidential sources and undercover recordings discussed below, VlNCENT
RAMOS, aka “CEO,” aka “Business,” (“RAMOS”) is a citizen of Canada and resident of
Vancouver, Canada. He is the founder and CEO of PHANTOM SECU',RE. RAMOS
controls PHANTOM SECURE’s operations through, in part, the delegation of

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8. The FBl previously investigated Cooperating Witness One (CW-l), a `

convicted transnational drug trai’[icker.1 From 2012 through January 2016, CW»l

 

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operated the a criminal enterprise that engaged in international drug trailicking, among
other criminal activity. CW-l was arrested in connection with the operation of the
criminal enterprise on September 9, 2015. Marc Emerson, a former resident of Los
Angeles, assumed control of the criminal enterprise’s drug trafficking operations after
CW-l’s arrest in September 2015 arrest.2 According to information received from local
authorities and the L.A. coroner’s report that I have reviewed, Emerson died from a drug
overdose in June 2017. By their own admissions in interviews conducted by FBI agents,
Cw-i end amerson were elieet-eeeteeeere er PHANTOM sECURE end need PHANTOM
SECURE devices and service to conduct their transnational drug trafficking activity.
PROBABLE CAUSE A CRIlV_[E WAS CODMTI'ED

9. Based on the evidence collected and reviewed as part of this investigation,
interviews with numerous witnesses, and information learned from many law
enforcement sources, as detailed below, I respectfully submit that there is probable cause

re believe then PHANTOM sECURE, its officers end directere, vINCENT RAMQS, -

, and others,

 

were the leaders, members, and associates of a criminal organization, hereinafter called ‘
the PHANTOM SECURE ENTERPRISE, that engaged in acts of aiding and abetting
drug trafficking and obstruction of j ustice.

7

10- The PHANTOM SECURE ENTERPRISE constituted an “enterprise,’ as
defined as Title 18, United States Code, Section 1961(4), that is, a group of individuals
associated in fact, although not a legal entity. The PHANTOM SECURE ENTERPRISE

constituted an ongoing organization whose members functioned as a continuing unit for

 

 

2 This was determined based on an ongoing investigation into CW-l’s post-arrest
activities, as well as information received from cooperating witnesses, confidential human

sources, and eventually by EMERSON’s own admissions
' 4

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a common purpose of achieving the objectives of the enterprise The enterprise was
engaged in, and its activities affected, interstate and foreign commerce

A. Phantom Secnre Wus Set Un Snecijicall'v To Fucilitute Crimina,l Actt`vit“v

11. According to the evidence reviewed as part of this investigation, including
interviews with numerous witnesses, undercover operations conducted by Canadian and
United States law enforcement, confidential sources from Australia and the United
States, cooperating witnesses from the United States and Australia, bank records,
corporate documents, and other publicly available documents, PHANTOM SECURE
advertisements, and the recorded admissions of RAMOS, _l the
PHANTOM SECU'.RE ENTERPRISE conducted and aided and abetted the illegal affairs
of the transnational criminal organizations as follows:

_ 12. PHANTOM SECURE operated the encrypted PHANTOM SECURE
network, which used PHANTOM SECU'RE devices to send and receive encrypted
messages in furtherance _of transnational criminal activity. PHANTOM SECURE’s
devices and service were specifically designed to prevent law enforcement from
intercepting and monitoring communication on the network, and every facet of
PHANTOM SECURE’s corporate structure was set up specifically to facilitate criminal
activity and obstruct, impede, and evade law enforcement

13- According on PHANTOM SECURE’s own marketing materials and
confirmed by 0ur investigation, that of our foreign law enforcement partners, and my
personal experience with the devices, I know that PHANTOM SECURE devices are
dedicated data devices housed inside a Blackberry handset. PHANTOM SECURE
purchases Blackberry handsets from Blaclrberry Limited and other Blackberry reF
sellers. Whereas the standard Blackberry handset is sold‘ to the public with all the
customary smartphone functionalities, PHANTOM SECURE’s marketing materials
state that when PHANTOM SECURE receives the Blackberr'y handsets, its technical
team removes the hardware and software responsible for all external architecture,

including voice communication, microphone, GPS navigation, camera, lnternet, and

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Messenger service. PHANTOM SECURE then installs Pretty Good Privacy (“PGP”)
encryption software and “Advanced Encryption Standard” (“AES”) on top of an email
program, which it routes through encrypted servers located in countries, such as Panama
and Hong Kong, believed by PHANTOM SECURE to be uncooperative with law
enforcement According to PHANTOM SECURE’s marketing materials, there are
several “advantages of having our servers and a portion of our business located in
Panama,” including the fact that “Panama does not cooperate with any other country’s
inquiries.... Panama does not consider tax evasion a crime and as such does not help
other countries in their investigations.” According to law enforcement agents who '
Specialize in cyber investigations, to further conceal the location of its key and mail
servers, PHA.N'TOM SECURE cloaks them in multiple layers of virtual proxy networks

14. As I have learned via attempts to obtain PHANTOM SECURE devices as
part of this and previous investigations b’y foreign law enforcement partners with whom
l have discussed the issue, a private citizen cannot simply contact PHANTOM SEC[IRE
to purchase a device and subscribe to the service. Instead, to purchase a device, a new
customer must obtain a personal reference or “vouch” from an existing PHANTOM
SECURE client-customer. Once a new client~customer has received such a vouch,
PHANTOM SECURE not only verifies the referral from the sponsoring client-customer,
but also conductsl open source checks to verify the customer's identity. Like all other
aspects of PHANTOM SECURE’s business, I believe the purpose of the vouch
requirement is to prevent law enforcement from penetrating PHANTOM SECURE’s
network by limiting PHANTOM SECURE’s client-customers to those individuals known
to and independently vetted and verified by PHANTOM SECURE.3

 

3 PHANTOM SECURE’s vouch and vetting requirements also assure its client-customers
that new purportedly criminal associates can be trusted. For example, when CW-l was
introduced to an undercover agent posing as a drug trafficker, CW-l required the agent’s bona
iist to be verified by PHANTOM SECURE. When PI-IANTOM SECURE unwittingly provided
such a verification, CW-l wrote to the undercover agent, “I was more worried about u - feel
better now seeing 1.1 a 2nd time ~ and finding out from my Phantom [Secure] guys that you’ve
been with the company for a year.. .All good, now let’s go earn.” According to CW-l, he used the

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15.

_ According to -and based on what l have
learned by procuring PHANTOM SECURE devices via undercover agents in this
investigation, the PHANTOM SECURE ENTERPRISE further endeavors to evade law
enforcement and avoid the consequences of its criminal activity through anonymity. To
that end, PHANTOM SECU'R.E does not request, track, or record their client-customers’
real names, or other identifying information, instead PHA.NTOM SECURE interacts
with its clients via username, email handles, or nicknames.

16. As l know from PHANTOM SECURE devices that have been secured with
the assistance of confidential human sources and undercover agents working with both
agents on this investigation and those working with foreign law enforcement partners,
once a new clientrcustomer initiates service with PHANTOM SECURE, that individual
self-assigns an anonymous, custom email handle The individual is also assigned a
domain owned by PHANTOM SECURE, thereby creating the client-customer’s
PHA.NTOM SECURE email address Many handles chosen by PHANTOM SECURE
client-customers, are - based on my training and experience _ references to drug
trafficking and/or violent crime. Coupled with the assigned domain, these handles
include: leadslinger@freedomsecure.me; The.certel@freedomsecure.me;
The.killa@)'i'eedomsecure.me; narco@lockedpgp.com; Trigger-happy@lockedpgp.coin;
Knee_capper§@lockedpgp.com,' ElchapoSS@Iockedpgp.com;
Time4d187@freedomsecure.me.

 

term “earn” to mean “mutually conduct drug transactions, thereby generating profit for both
parties.”

    

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17. According to _and other law enforcement agents that have
secured PHANTOM devices in an undercover capacity, PHANTOM SECURE provides

encrypted devices and service to its client-customers at a cost of approximately $2,000 -
$3,000 per six-month subscription

18. According to - foreign law enforcement partners with technical
training, and other sources, PHANTOM SECURE devices communicate almost
exclusively on the PHANTOM SECURE network with other PHANTOM SECURE
devices.6 Client-customers generally create smaller, roughly pyramidal, “closed”
networks comprised of members of the same criminal organization who use PHANTOM
SECURE. PHANTOM SECURE devices set up on a closed network can only
communicate with other PHANTOM SECURE devices arrayed on the same closed
network.

19. According to CW-l, -and statements made to undercover agents
described below, as part of its services, PI-IANTOM SECURE guarantees that messages
stored on its devices can be and will be remotely deleted by PHANTOM SEC_URE if the
device is seized by law enforcement or otherwise compromised rI‘hrou§__»;h a request to
PHANTOM SECURE, the client-customer who established the closed network (or a
customer above another in the pyramidal hierarchy) has the ability at any time to
contact a PHANTOM SECURE representative in order to remotely wipe the information

on their own device or any other device beneath them within the closed network To aid

and abet criminal activity, PHANTOM SECURE has also suspended the service and

 

    

6 In limited circumstances through a vetting process termed “white-listing,” a
PHANTOM SECURE client~customer can request permission to communicate with an

individual on another PGP-encrypted network.
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deleted the contents of PHANTOM SECURE device, if they suspected law enforcement
or an informant was using the PHANTOM SECURE device as part of an investigation

20. According to estimates by international law enforcement agents with whom
I have met and discussed their investigations of PHANTOM SECU'R.E, there are more
than twenty-thousand PHANTOM SECURE devices in use worldwide, including
approximately 10,000 in Australia. According to law enforcement sources in Australia,
Canada, and the United States, PHANTOM SECURE devices are used by the upper
echelon members of various transnational criminal organizations to communicate with
their criminal compatriots and conduct the illegal activities of the organization These
law enforcement sources all report that thev are unaware of anv law enforcement
partner that has identiiied even a single legitimate PI-IANTOM SECURE user.

21. Based on reports of RCMP, Australia and United States Hnancial
investigators and agents that l have reviewed, bank records, corporate ownership Elings
in Canada, Singapore, and Hong Kong show that PHANTOM SECURE generated tens
of millions of dollars in revenue by facilitating the crimes of transnational criminal
organizations and protecting these organization from detection by law enforcement I
have talked to other who have reviewed financial records and l believe PHANTOM
SECURE funnels the proceeds h'om device and service sales through several shell

 

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22. Further, based on statements made by- , l know that to
launder its ill-gotten gains and maintain its members’ anonymity the PHANTOM
SECURE ENTERPRISE uses cryptocurrencies, including Bitcoin, and shell companies

B. The Phantom Secu,re Enternrise Knowinglv Conducts and Aids and Abets

Trensnational Drug Tra#icking and Other Criminul fictiong

23. According to CW-l, some members of the Sinaloa Cartel - the drug
trafficking organization with whom he associated _ used PHANTOM SECURE devices
to communicate and coordinate their criminal activities According to CW-l, PHANTOM
SECURE devices were specifically designed, marketed, and distributed to transnational
criminal organizations, specifically drug trafficking organizations

24. According to information l received from RCL[P, from March through
August of 2015, _RCMP successfully purchased PHANTOM SECURE devices by posing
as drug trafhckers. During the vetting process, an undercover agent asked the
PHANTOM SECURE representative if it was safe to send messages that explicitly
discussed drug trafficking, using the following examples, “cocaine coming up” and
“sending MDMA to Montreal.” PHANTOM SECURE’s employee replied that speaking
explicitly was “totally line” because the servers were ‘”based in Panama” and “no one has

access” to “our servers.”

y 25. As part of the RCMP investigation, PI-IANTOM SECURE personnel were
asked by the RCMP to delete an associate’s PHANTOM SECURE device after “learning"
that police had arrested this associate ln response to this request, the following

conversation occurred:

RCMP: So, he picked up the load [of drugs] and l think he’s been
arrested and l need, there’s a lot of evidence and fuckin’ shit
on my Blackberry.

Phantom, Sccure: Ye_ah.
RCMP: l need that evidence gone, ASAP.

Pho:ntom, Secure: You wanna wipe both of them?
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RCMP:

Phentom Secure:

RCMP:

Phentom Secure:

RCMP:

Pko:ntom Secure:

Yes.

Okay then.

Oh, you’re a lifesaver.

One sec.

And, but the thing is, cops can’t access it, right?

They can’t even access that anyways, yeah.

26. _ to protect the anonymity of its client base, PHANTOM

SECURE- attempts to limit the distribution of its handsets to individuals associated with
organized crime, and RAMOS has coached -to conceal PHA.NTOM SECURE’s

clients’ true identities and occupations

 

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29. ,As a representative example of RAMOS’s knowing facilitation of

assumes drug machine _

multiple undercover agents met with RAMOS in Las Vegas on February 8-9, 2017. The

undercover agents posed as high*ranking members of a transnational drug trafficking
organization seeking secure communications and data deletion services to facilitate an
expansion of their drug traliick:ing activities in South America and Europe. During the
recorded meeting, RAMOS made the following admissions:

a. RAMOS explained that PHANTOM SECURE was built specifically

for the purpose of facilitating drug trafficking:

Undercover: Three of my main guys are in prison

RAL¢IOS: Mhm

Undercover: l lost, like, 50 kilos coming out from Colombia
RAMOS: Okay. You don’t have to tell me that, but it’s okay.
Undercover: Yea, well, We’re all friends

RAMOS: _J ust saying it out loud.

[ conversation continues]

Undercover: lt’s, there’s a lot of exposure right here. There’s a lot.
RAMOS: Of course That’s ~

Undercover: You know, we don’t know you.

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RAMOS: Of course. That’s what I’m saying. You don’t know me. But,
yeah that’s exactly what I’m saying, right- We made it-we

made it specifically for this |drug trafficking| too.
b. RAMOS continued by saying he was coniident in the PHANTOM

SECURE product and assured the undercover agents that PHANTOM SECURE’s
technology would not be compromised As to drugs lost in transit, RAMOS said: “I’ve
seen and heard from other people just ‘cause I’m in this business That it is, um where
people, when it happens [drugs are seized by law enforcement] to people all of, a lot of
informants in, somebody already inside. Ninety-nine percent of the times.”

c. In response to a statement from an undercover agent that GPS
functionality on a PHANTOM SECURE telephone was necessary to facilitate targeted
murders of criminal associates suspected of betraying the organization, RAMOS
responded, “Right, right, right, right.” Later in the conversation, RAMOS assured the
undercover agents that PHANTOM SECURE’s encryption could not be “hacked” and
that the primary vulnerability of this type of communication was an “informant.”
RAMOS said “from what I [have] experienced it’s always cooperation, ya know.” An
undercover agent responded: “Which goes back to the GPS issue,” implying the group
would need to locate and kill the informant RAMOS responded, “Yeah, it does.”

d. When asked what action the transnational criminal organization

should take if one of its members was “pinched,” RAMOS responded as follows:

Undercover: What is it that you recommend What’s the iirst thing
we should if we get word that someone got pinched
and We need to just kind of -

RAMOS: You’d probably want to -

Undercover: having them fall oHAthe radar

RAMOS: You’d - you’d want, um, send a wipe command to his
device.

Undercover: A lot of concern from a lot of people here, we have that,

ya know, I guess reassurance that they are gonna be
able to be remotely taken care of.

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RAMOS: Right. But I but the only thing is when you’re saying
the remotely Wiped, it has to have a connection to the
network Because What they do now with that they
have a Faraday bag. You can put the device into the -
bag and it does not emit any signals if you put it into
like, a lab to avoid wipes. `

n Undercover: W'ho has that?

RAMOS: What I’m sa `n the authorities the “unii'iendlies” aw
enforcementl do.

e. Ultimately, in furtherance of the purported worldwide expansion of
their drug trafficking activities, the undercover agents purchased from RAMOS ten
PHANTOM SECURE devices and incident services at a cost of $20,000 for six months.

Subsequently, the agents renewed service on the devices at an additional cost of $25,000.

 

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C. Select Acts Aidir_zg and Abetting Drgg Tra@ckir_tg Committed By The

Phantom Secure Enterprise

37. According to law enforcement in the United States, Austra]ia, and Canada,
and documents and evidence collected during this investigation, PHANTOM SECUB,E
ENTERPRISE conducted or aided and abetted the following racketeering acts:

38. CW-l stated that over the course of several years, his drug trafficking
organization moved hundreds of kilograms of cocaine per month from Mexico through
the United States, ultimately destined for Canada and Austra.lia. CW-l used a
PHANTOM SECURE device to coordinate and complete each of these drug transactions

39. In a series of PHANTOM SECURE messages that I have reviewed from
July 18, 2015 through August 5, 2015, CW-l and the undercover agent discussed and
confirmed the details of a five kilogram cocaine transaction CW-l and the undercover
agent agreed that the delivery would take place at a hotel in Del Mar, California. CW-l
stated that he would send “Junior” to make the cocaine delivery. In fact, on August 5,
2015, Rufus Rhone, aka Junior, arrived at the prearranged hotel in Del Mar California.
Upon arrival, Rhone gave an undercover agent one kilogram of cocaine. Aiter testing a
sample and confirming that it was cocaine, the undercover agent gave Rhone $90,000
and Rhone provided the undercover agent the remaining four kilograms of cocaine In a
series of PHA.NTOM SECURE messages with CW-l, the undercover agent confirmed
_ that the five~kilogram cocaine delivery had occurred as planned

_ 40. According to information provided by international law enforcement
perreere, in eeg-err 2015, using PHANToM-sncnns devices provide by_ow~
1 and his Australian conspirators coordinated a shipment lof 10 kilograms of cocaine from
the U.S. to Australia-, which was seized by the Australian Border Force.

41. According to CW-l, as well as witness interviews and communications that
l have reviewed, after CW-l and the undercover agent completed the August 5, 2015 five
kilogram cocaine deal, CW-l arranged to have five kilograms of methamphetamine

delivered to the undercover agent. Using his PHANTOM SECURE device, CW-l

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coordinated the delivery of the methamphetamine on September 8, 2015, one day before
CW-l’s arrest on September 9, 2015.

42. According to communications that I have reviewed, during a five-day period
~ from September 4, 2015 through September 9, 2015 - CW»l and his associates
communicated over PHANTOM SECURE devices provided by -to coordinate
the shipment of more than 135 kilograms of cocaine from Los Angeles to Canada.
Following CW-l’s arrest, PHANTOM SECURE attempted to wipe CW-l’s PHANTOM
SECURE device, but the attempt failed because the wipe command failed to reach CW-
1’s device,

_ 43. Leading up to September 2016, the Australian Federal Pol_ice were
surreptitiously operating a PHANTOM SECURE device seized from an Australian
national who was arrested for drug smuggling _ During this period, the AFP
communicated with an unknown individual in Los Angeles who packaged and shipped
16 kilograms of cocaine to Australia where it was intercepted on September 11, 2016.

44. In March 2017, FBI agents in Los Angeles surveilled EMERSON loading
multiple duffle bags into a large truck at known drop point. After` the truck left the area,
local police stopped the truck and seized 194 kilograms of cocaine Incident to the truck
driver’s arrest, FBI agents seized his PHANTOM SECURE device During a brief
consensual review of the PHANTOM SECURE device, agents determined it had been
area re eeerdieere are reeeipt era eubeeqrrent delivery er are eeeeirre_ The truck driver
warned that the PHANTOM SECURE device would be erased if he failed to check in
within a specific period, and indeed, within hours of his arrest, PHANTOM SECURE
remotely wiped this device and the evidence on his PHA.NTOM SECURE device was
deleted.

45. In June 2017, undercover agents used a target’s PHANTOM SECURE
device to communicate with “the Goat,” a known drug trafficker located in Canada. This
operation ultimately lend to the arrest of Saysana Luangkharndeng as he attempted to

smuggle MDMA into the United States and the seizure 24 kilograms of MDMA.

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several times a year for several years. He also admitted that he knew CW-l was a drug

trafficker when he was selling those devices to CW-l.

 

REQUEST ro sEAL AND DELAY NoTIoE

51. Based on my training and experience and the investigation of this matter,
l respectfully submit that reasonable cause exists to seal this aididavit and arrest
warrant The investigation is ongoing, and premature disclosure of the warrant will
compromise ongoing operational activities in the United States and worldwide, including
through the destruction of evidence, the notification of other subjects of the investigation,
including PHANTOM SECURE client-customers, the flight from prosecution by
RMCOS, _ar others who are subject to arrest, and
the endangerment of the life or physical safety or the intimidation of -SW-

1 and other potential witnesses in this case.
CONCLUSION

52. Based on my training and experience and the evidence detailed above, l '

believe there is probable cause that RAMOS, _

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violated 'litle 18, United States Code, Section 1962 (RICO), 'I‘itle 21, United States Code,
Sections 841 and 846 (Conspiracy to Distrihute a Contro]led Substance).

 

Special Agent Nicholas Cheviron
Federal Bureau of Investigation

Subscribed to and sworn before me
this ___ of , 2018.

 

The Honorable Mitchell D. Dembin
UNITED STATES MAGISTRATE J'UDGE

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